Case 18-23307-CMG                    Doc 96        Filed 08/02/21 Entered 08/02/21 13:15:31                                        Desc Main
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 B 2100A (Form 2100A) (12/15)


                     UNITED STATES BANKRUPTCY COURT
                                                       District of New Jersey

 IN RE:                                                               :
 Wilbur Ulyesses Mallory Jr.                                          :
 Kim Leona Mallory                                                    :     Case No. 18-23307-CMG
                                                                      :     Chapter 13
            Debtor(s)                                                 :
                                                                      :

                                TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.

 Christiana Trust, a division of Wilmington Savings Fund
 Society, FSB, not in its individual capacity, but solely as Christiana Trust, as division of Wilmington Savings
 owner trustee on behalf of RBSHD 2013-1 Trust C/O           Fund Society, FSB, not in its individual capacity
 Distressed Capital Management, LLC
                                                             Name of Transferor
 Name of Transferee
 Name and Address where notices to transferee                             Court Claim # (if known): 3
 should be sent:
                                                                          Amount of Claim: $501,730.79
 Distressed Capital Management, LLC                                       Date Claim Filed: 09/10/2018
 17595 Harvard Ave #C1006,
 Irvine, CA 92614
 Phone: (888) 859-9802                                                    Phone:

 Last Four Digits of Acct #: XX1322                                       Last Four Digits of Acct. #: 6712
 Name and Address where transferee payments
 should be sent (if different from above):

 Distressed Capital Management, LLC
 17595 Harvard Ave #C1006,
 Irvine, CA 92614
 Phone: (888) 859-9802


 Last Four Digits of Acct #: XX1322


I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
knowledge and belief.

 By:    /s/ Steven Kelly                                                  Date: August 2, 2021
       Transferee/Transferee's Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571
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                                            Certificate of Service
 I hereby certify that a copy of the foregoing Transfer of Claim was served on the parties listed below by
 electronic means via the Court's CM/ECF notification system on this date August 2, 2021.

 William H. Oliver, Jr.                                          Office of the U.S. Trustee
 2240 State Highway 33                                           Office of the US Trustee
 Suite 112                                                       One Newark Center
 Neptune, NJ 07753                                               Ste 2100
 courtdocs@oliverandlegg.com                                     Newark, NJ 07102
 Counsel for Debtor                                              ustpregion03.ne.ecf@usdoj.gov
                                                                 U.S. Trustee

                                                                 Albert Russo
                                                                 CN 4853
                                                                 Trenton, NJ 08650-4853
                                                                 docs@russotrustee.com
                                                                 Chapter13 Trustee

 And by standard first-class mail postage prepaid to:

 Wilbur Ulyesses Mallory Jr.
 706 O`Hagen Terrace
 Neptune, NJ 07753

 Kim Leona Mallory
 706 O`Hagen Terrace
 Neptune, NJ 07753
 Debtors



                                                        Respectfully submitted,

                                                        /s/ Steven Kelly
                                                         Steven Kelly (Bar No.010032010)
                                                         Stern & Eisenberg, PC
                                                         1040 N. Kings Highway
                                                         Suite 407
                                                         Cherry Hill, NJ 08034
                                                         skelly@sterneisenberg.com
                                                         Phone: (609) 397-9200
                                                         Fax: (856) 667-1456
                                                         Attorney for Creditor
